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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 VELOCITY CAPITAL GROUP LLC,

                               Plaintiff,

                        v.
                                                            Case No.: 2:23-cv-05562-NJC-ST
 HUSSIAN COLLEGE, INC., JOSHUA
 DAVID FIGULI, and DAVID J. FIGULI,

                               Defendants.

 HUSSIAN COLLEGE, INC., JOSHUA
 DAVID FIGULI, and DAVID J. FIGULI, on
 behalf of themselves and all similarly situated
 borrowers and guarantors,
                               Plaintiffs,
                        v.
 VELOCITY CAPITAL GROUP LLC, JACOB
 AVIGDOR, ARENA INVESTORS, LP,
 JOHN DOES 1-100, and JOHN DOES 101-
 200,
                               Defendants.


            VERIFIED ANSWER AND CLASS-ACTION COUNTERCLAIMS


       Defendants Hussian College, Inc. (“Hussian”), Joshua David Figuli (“Joshua Figuli”), and

David J. Figuli (“David Figuli”; together with Hussian and Joshua Figuli, “Defendants”), by and

through their attorneys, Halloran Farkas + Kittila LLP, respond to the Verified Complaint (the

“Complaint”) herein as follows:

       1.      Defendants deny sufficient knowledge and information to form a belief as to the

truth of the allegations contained in paragraph 1 of the Complaint.

       2.      Defendants admit the allegations contained in paragraph 2 of the Complaint.




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       3.      Defendants admit that Joshua David Figuli was a resident of California from 2009

until August 2024 and deny the remaining allegations contained in paragraph 3 of the Complaint.

       4.      Defendants deny the allegations contained in paragraph 4 of the Complaint.

       5.      The purported contract referenced in paragraph 5 of the Complaint speaks for itself.

To the extent that the allegations contained paragraph 5 of the Complaint require a further

response, Defendants deny the allegations.

       6.      The purported contract referenced in paragraph 6 of the Complaint speaks for itself.

To the extent that the allegations contained in paragraph 6 of the Complaint require a further

response, Hussian denies the allegations.      The allegations contained in paragraph 6 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 6 of the Complaint

require a response from Joshua or David, Joshua and David deny the allegations.

       7.      The purported contract referenced in paragraph 7 of the Complaint speaks for itself.

To the extent that the allegations contained in paragraph 7 of the Complaint require a response,

Hussian denies the allegations. The allegations contained in paragraph 7 of the Complaint are not

directed at Joshua or David and, therefore, no response from Joshua or David is required. To the

extent that response to the allegations contained in paragraph 7 of the Complaint require a response

from Joshua or David, Joshua and David deny the allegations.

       8.      Hussian denies the allegations contains contained paragraph 8 of the Complaint.

The document referenced in paragraph 8 of the Complaint speaks for itself. The allegations

contained in paragraph 8 of the Complaint are not directed at Joshua or David and, therefore, no

response from Joshua or David is required. To the extent that response to the allegations contained




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in paragraph 8 of the Complaint require a response from Joshua or David, Joshua and David deny

the allegations.

       9.      Paragraph 9 of the Complaint contains legal conclusions as to which no response is

required. To the extent a response is required to the allegations contained in paragraph 9 of the

Complaint, Hussian denies the allegations. The allegations contained in paragraph 9 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 9 of the Complaint

require a response from Joshua or David, Joshua and David deny the allegations.

       10.     Paragraph 10 of the Complaint contains legal conclusions as to which no response

is required. To the extent a response is required to the allegations contained in paragraph 10 of

the Complaint, Hussian denies the allegations. The allegations contained in paragraph 10 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 10 of the

Complaint require a response from Joshua or David, Joshua and David deny the allegations.

       11.     Defendants refer to the documents referenced in paragraph 11 of the Complaint

which speak for themselves. To the extent that a further response is required, Defendants deny the

allegations contained in paragraph 11 of the Complaint.

       12.     Paragraph 12 of the Complaint contains legal conclusions as to which no response

is required. To the extent that a further response is required, Hussian denies the allegations

contained in paragraph 12 of the Complaint. The allegations contained in paragraph 12 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 12 of the

Complaint require a response from Joshua or David, Joshua and David deny the allegations.




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       13.     Paragraph 13 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Hussian denies the allegations contained in

paragraph 13 of the Complaint. The allegations contained in paragraph 13 of the Complaint are

not directed at Joshua or David and, therefore, no response from Joshua or David is required. To

the extent that response to the allegations contained in paragraph 13 of the Complaint require a

response from Joshua or David, Joshua and David deny the allegations.

       14.     Paragraph 14 of the Complaint contains legal conclusions to which no response is

required. Defendants refers to the documents referenced in paragraph 14 of the Complaint which

speak for themselves. To the extent that a further response to Paragraph 14 of the Complaint is

required, Hussian denies the allegations. The allegations contained in paragraph 14 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 14 of the

Complaint require a response from Joshua or David, Joshua and David deny the allegations.

       15.     The allegations in paragraph 15 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 15 of

the Complaint which speaks for itself. To the extent that further response from Joshua is required

to the allegations contained in paragraph 15 of the Complaint, Joshua denies the allegations

contained in paragraph 15. The allegations contained in paragraph 15 of the Complaint are not

directed at Hussian or David and, therefore, no response from Hussian or David is required. To

the extent that response to the allegations contained in paragraph 15 of the Complaint require a

response from Hussian or David, Hussian and David deny the allegations.

       16.     The allegations in paragraph 16 of the Complaint contain legal conclusions as to

which no response is required. To the extent that further response from Joshua is required to the




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allegations contained in paragraph 16 of the Complaint, Joshua denies the allegations contained in

paragraph 16. The allegations contained in paragraph 16 of the Complaint are not directed at

Hussian or David and, therefore, no response from Hussian or David is required. To the extent

that response to the allegations contained in paragraph 16 of the Complaint require a response from

Hussian or David, Hussian and David deny the allegations.

       17.     The allegations in paragraph 17 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 17 of

the Complaint which speaks for itself. To the extent that further response from Joshua is required

to the allegations contained in paragraph 17 of the Complaint, Joshua denies the allegations

contained in paragraph 17. The allegations contained in paragraph 17 of the Complaint are not

directed at Hussian or David and, therefore, no response from Hussian or David is required. To

the extent that response to the allegations contained in paragraph 17 of the Complaint require a

response from Hussian or David, Hussian and David deny the allegations.

       18.     The allegations in paragraph 18 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 18 of

the Complaint which speaks for itself. To the extent that further response from David is required

to the allegations contained in paragraph 18 of the Complaint, David denies the allegations

contained in paragraph 18. The allegations contained in paragraph 18 of the Complaint are not

directed at Hussian or Joshua and, therefore, no response from Hussian or Joshua is required. To

the extent that response to the allegations contained in paragraph 18 of the Complaint require a

response from Hussian or Joshua, Hussian and Joshua deny the allegations.

       19.     The allegations in paragraph 19 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 19 which




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speaks for itself. To the extent that further response from David is required to the allegations

contained in paragraph 19 of the Complaint, David denies the allegations contained in paragraph

19. The allegations contained in paragraph 19 of the Complaint are not directed at Hussian or

Joshua and, therefore, no response from Hussian or Joshua is required. To the extent that response

to the allegations contained in paragraph 19 of the Complaint require a response from Hussian or

Joshua, Hussian and Joshua deny the allegations.

       20.     The allegations in paragraph 20 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 20 of

the Complaint which speaks for itself. To the extent that further response from David is required

to the allegations contained in paragraph 20 of the Complaint, David denies the allegations

contained in paragraph 20. The allegations contained in paragraph 20 of the Complaint are not

directed at Hussian or Joshua and, therefore, no response from Hussian or Joshua is required. To

the extent that response to the allegations contained in paragraph 20 of the Complaint require a

response from Hussian or Joshua, Hussian and Joshua deny the allegations.

                                      GENERAL DENIAL

       Except to the extent expressly stated herein, Defendants deny each and every allegation

contained in the Complaint. Further, Defendants expressly deny that Plaintiff is entitled to any of

the relief sought in the Demand for Relief contained in the Complaint.

                                 AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       Plaintiff fails to state a claim upon which relief can be granted.

                            SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s claims fail because Plaintiff breached the parties’ agreement by failing to

comply with each every of its obligations under the parties contracts.


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                              THIRD AFFIRMATIVE DEFENSE

       The parties’ agreement is an unenforceable usurious loan.

                            FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by the doctrine of unclean hands because, among other

reasons, plaintiff violated New York’s criminal usury law and did not perform under the parties’

agreements.

                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred because the parties’ agreements were procured by fraud and

misrepresentation.

                              SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims of damages, if any, are subject to a set-off.

                            SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims should be dismissed on the basis of documentary evidence.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s alleged damages were caused by the conduct of Plaintiff or third parties not

under Defendants’ control, and not by any culpable conduct of Defendants.

                              NINTH AFFIRMATIVE DEFENSE

       Plaintiff cannot have a recovery against Defendants when the revenue it claims to have

purchased did not materialize.

                             TENTH AFFIRMATIVE DEFENSE

       Plaintiff committed fraudulent acts which preclude recovery.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Defendants reserve any and all defenses, at law or in equity, that may exist now or in the

future based upon discovery and further investigation of this case.



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                             TWELFTH AFFIRMATIVE DEFENSE

          Defendants did not breach any alleged agreement with Plaintiff and no cause of action

exists.

                           THIRTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by the doctrines of unclean hands, fraud, unconscionability,

and bad faith. Plaintiff’s alleged agreement constitutes a criminally usurious loan for which

Plaintiff was not entitled to collect payments, and pursuant to which it is not entitled to any causes

of action.

                           FOURTEENTH AFFIRMATIVE DEFENSE

          Defendants acted at all times in good faith and in full compliance with all applicable law

and without malice or intent to harm plaintiff.

                            FIFTEENTH AFFIRMATIVE DEFENSE

          Plaintiff commenced this action for the purpose of harassing and maliciously injuring the

Defendants in an attempt to force a settlement from the Defendants. The Plaintiff has no

meritorious cause of action, and no right of recovery due to the nature of the transaction being a

usurious loan at greater than 125% interest.

                            SIXTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by the implied covenant of good faith and fair dealing. The

Plaintiff’s transaction constitutes a criminally usurious loan at greater than 125% interest, for

which plaintiff had no right to receive payments thereunder.

                          SEVENTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by reason of Plaintiff’s violation of deceptive business

practices statutes, including without limitation N.Y. General Business Law § 349.




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                         EIGHTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by reason that the parties’ transaction constitutes a usurious

loan in violation of N.Y. Penal Law §§ 190.40 and 190.42, 19 P.S. § 4806.2 et seq., and other

applicable law, and accordingly the parties’ transaction is void ab initio.

                          NINETEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by reason of Plaintiff’s breach of the parties’ agreement,

Plaintiff collected monies from Hussian to which it was not entitled.

                                 DEMAND FOR JURY TRIAL

       Defendants hereby demand a trial by jury on all claims so triable.

       WHEREFORE, Defendants respectfully request that this Court:

       (a)     Dismiss Plaintiff’s Complaint with prejudice;

       (b)     Award Defendants their attorneys’ fees, expenses, and costs incurred in this action;
               and

       (c)     Award Defendants such other and further relief as the Court deems just and proper.

                                       COUNTERCLAIMS

       Defendants-Counterclaim Plaintiffs Hussian College, Inc., David J. Figuli, and Joshua

David Figuli by and through their attorneys bring as their counterclaims against counterclaim

defendants Velocity Capital Group LLC, Jacob Avigdor, Arena Investments, LP, John Does 1-

100, and John Does 101-200 (collectively, “Defendants”) on behalf of themselves and on behalf

of all other similarly situated borrowers and guarantors and allege as follows:

       21.     This is a RICO action to recover damages arising from violation of the State of New

York’s criminal usury statute for damages caused to a class of borrowers and their guarantors,

including Hussian and the Figulis arising from Defendants’ actions to collect on illegal loans that

charged interest rates that exceeded the legal rate in New York by more than double the legally



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 permitted interest rate. The most recent loan to Hussian was more than five-times the legal limit.

 To evade applicable usury statutes, the loans were disguised as a purchase and sale of future

 receivables agreements, but the loans’ terms and conditions and the Defendants’ actions

 demonstrate that despite the name of the agreements, no sales of receivables took place, and the

 agreements were intended to be, and always were treated as, loans.              A copy of sample

 documentation showing the terms that Velocity typically used with borrowers and guarantors

 is attached hereto as Exhibit 1.

                                             The Parties

        22.     Counterclaim plaintiff and borrower class representative, Hussian College, Inc.

 (“Hussian”), is a corporation formed under the laws of the Commonwealth of Pennsylvania with

 its primary place of business in Philadelphia. It provided undergraduate and graduate programs

 related to art, health sciences, business, technology and other career focused programs from

 certificates less than one year in length through the master’s degree levels. Hussian received

 several loans from Velocity and until its final loan agreement, paid all of the required interest.

 Hussian began winding down operations in June 2023, collecting its final tranches of tuition and

 fees revenue in April 2023 all before it completed the process of repaying its final loan from VCG.

        23.     Counterclaim plaintiff David J. Figuli (“DJF”) is a citizen of Colorado and the

 indirect owner and direct guarantor of Hussian’s earlier and final loans.

        24.     Counterclaim plaintiff Joshua David Figuli (“JDF”; with DJF, the “Figulis”) is a

 citizen of Colorado and the indirect owner and direct guarantor of Hussian’s earlier and final loans.

 The Figulis are representatives of the guarantor class.

        25.     Velocity Capital Group LLC (“VCG” or “Velocity”) is a limited liability company

 formed under the laws of the state of New York with its principal place of business in Nassau

 County, New York.


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         26.       Jacob Avigdor (“Avigdor”) is the founder, CEO, and Manager of VCG and is a

 citizen of the State of New York.

         27.       Arena Investors, LP (“Arena”) is a limited partnership formed under the laws of the

 state of Delaware with its principal place of business in the State of New York. On information

 and belief, Arena has extended a $50 million line of credit to VCG.

         28.       John Does 1-100 are entities or individuals that directly or indirectly acquired an

 interest in VCG in one more rounds of fund raising by VCG.

         29.       John Does 101-200 are entities or individuals that directly or indirectly provide or

 provided financing to VCG to enable it to extend loans to Hussian and the remainder of the class

 plaintiffs.

         30.       The borrower class is the group of borrowers who entered into agreements with

 Velocity on terms similar to those of Hussian since June 23, 2019.

         31.       The guarantor class is the group of guarantors who entered into guarantees with

 respect to the loans entered into by the borrower class since June 23, 2019 on terms similar to the

 Figulis.

                                     FACTUAL BACKGROUND

         32.       VCG tends to characterize itself as a merchant cash advance (“MCA”) company

 that lends funds to merchants and small businesses that are in desperate need of cash. It is a lender

 of last resort.

         33.       From time-to-time, VCG and its counsel characterize VCG as a lender and the

 services it provides as lending.

                                           Hussian’s Business

         34.       Hussian was a private post-secondary school, established in 1946 as Hussian

 School of Art.


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        35.     In the 1940s, the Philadelphia Museum of Art encouraged John Hussian, a member

 of Philadelphia’s art community and a renowned lecturer, to open a school to provide training in

 fine art for veterans returning from World War II.

        36.     Hussian’s first class commenced on July 1, 1946.

        37.     In the 1960s, with John Hussian’s guidance as president, the school shifted its

 curriculum to concentrate on commercial art.

        38.     Hussian was incorporated on July 1, 1969. John Hussian retired in 1973.

        39.     In 2011, Education Equities Fund, LLC acquired Hussian.

        40.     In November 2013, the Pennsylvania Department of Education granted Hussian the

 ability to confer a Bachelor of Fine Arts (BFA) degree.

        41.     In January 2015, Hussian School of Art changed its name to Hussian College.

        42.     The college was accredited by the Accrediting Commission of Career Schools and

 Colleges (ACCSC).

                              Velocity’s History As Hussian’s Lender

        43.     Over the last several years of Hussian’s operation, Hussian entered into several

 agreements to borrow from Velocity, each time repaying the principal plus interest at amounts that

 exceeded the legal interest rate.

        44.     Hussian entered into the following loans with Velocity:

                                     Borrowed         Total         Daily Payment     Injury
           Origination Date
                                     Amount ($)    Payments ($)      Amount ($)     Amount ($)

          December 7, 2020               427,335         630,000           26,250         202,665

          February 3, 2021               427,335         630,000           20,250         202,665

          May 3, 2021                    617,335         910,000           37,917         292,665

          July 19, 2021                  759,835        1,120,000          43,077         360,165



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                                 Borrowed            Total         Daily Payment        Injury
             Origination Date
                                 Amount ($)       Payments ($)      Amount ($)        Amount ($)

          October 12, 2021           1,044,835         1,540,000          495,165              59,231

          January 1, 2022            1,069,335         1,610,000           61,293          540,665

          February 14, 2023            418,335          630,000             4,500          211,665

        45.      Payment of the illegal interest further exacerbated the financial troubles that

 Hussian encountered, as the loans from Velocity required to Hussian part with an excessive portion

 of its income just to meet the onerous and illegal payment terms imposed by the agreements with

 Velocity.

        46.      Indeed as part of its illegal activities, Velocity, on behalf of the Enterprise (as

 defined below), extracted more in interest from Hussian than Hussian’s limited resources could

 support, and these excessive and illegal interest charges were one of the factors that ultimately

 forced Hussian to close its doors and stop operating as an institution of higher education.

        47.      Moreover, even as the interest charged by Velocity on behalf of the Enterprise was

 excessive, Velocity extracted more from Hussian than was permitted under its agreements.

 Velocity never returned the funds that it wrongfully extracted from Hussian’s account. Instead,

 Velocity applied those funds against Hussian’s final loan, meaning that Hussian’s own assets were

 part of the funds that were advanced to it. Indeed, Velocity maintained a single ledger in which it

 recorded all transactions with Hussian, regardless of which loan related corresponded to the debt.

                                          The Loan Terms

        48.      Hussian entered into the loan from VCG on February 14, 2023 (the “Loan”). The

 form of this Loan was typical in language and terms as the other loans extended by Velocity on

 behalf of the Enterprise to Hussian and the class plaintiffs.




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           49.   The Loan’s terms required that VCG advance $450,000 to Hussian and, in return,

 Hussian would make a $4,500 payment to VCG every business day until it had repaid the $450,000

 to VCG plus $180,000 for a total amount of $630,000. Hussian’s Loan was documented on a

 standard form that Velocity also used with respect to loans that it made on behalf of the Enterprise

 to the class members.

           50.   Notwithstanding its title, the Loan was not the sale/purchase of receivables: it was

 a loan.

           51.   The Loan had none of the indicia of a true sale and all the indicia of a loan. Facts

 demonstrating this include, without limitation: (i) the Loan required that the Purchased Amount

 be repaid from funds other than the purchased “Receipts”; (ii) the terms of the Loan failed to

 transfer the risk and benefits of the future receipts from Hussian to Velocity; (iii) the borrower

 remained absolutely liable for repayment of the “Purchased Amount”; (iv) Velocity had full

 recourse rights against Hussian and Figulis; and (v) the “Daily Payments” were fixed and required

 payment within the specific time period chosen by Velocity. These terms and indicia are consistent

 with other loans made by Velocity on behalf of the Enterprise to Hussian and the class.

           52.   Moreover, absolute title and ownership of the allegedly purchased receivables did

 not transfer from the borrower to Velocity. The borrower remained responsible for generating and

 collecting the future revenue, it exercised complete dominion and control over the future revenue

 and it retained the risk of non-collectability. Notwithstanding the agreements’ language, all of the

 benefits and risks of ownership of the receipts remained with the borrower.

           53.   Regardless of whether the borrower had daily revenue sufficient to support the

 remittance, it was required to ensure that the account was fully funded to support Velocity’s ACH

 withdrawal. Velocity did not have any risk of a daily revenue shortfall.




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        54.     Just as with a loan, if an event of default occurred, the loans accelerated and the full

 amount became immediately due and owing plus additional fees and costs. Moreover, the

 borrower’s failure to generate and collect sufficient revenue to make the daily remittance would

 automatically constitute an event of default.

        55.     The loans did not have any provision that required Velocity to ensure that the daily

 remittances did not exceed the specified percentage of revenue that was paid. Indeed, the

 adjustment provision is a sham reconciliation provision that was designed to give the loans the

 appearance of not having a definite term—a technique used in a misguided effort to avoid the

 prohibitions of the usury laws. In a legitimate reconciliation provision, if a borrower pays more

 through its fixed daily payments than the specified percentage of its revenue, the borrower is

 entitled to receive the repayment of any excess money paid, so as to ensure that the collections do

 not exceed the purportedly purchased share of revenue. The loans, however, do not require that

 an excess be refunded. At most, under certain hard to accomplish conditions, the loans allow a

 brief reduction in daily remittances with an automatic reversion to the original amount even if

 revenue has not recovered.

        56.     Although the face of the loan documentation does not specify the loans’ duration,

 basic arithmetic allows the reader to calculate the duration. For Hussian’s final loan, the term was

 to be 140 business days—a little more than 28 weeks (accounting for bank holidays and weekends).

 The same calculation can be made for other members of the class whose loans were made on the

 same and similar forms.

        57.     The loans do not specify the applicable interest rate, but again, basic arithmetic can

 supply those rates. For Hussian’s final loan, the rate exceeded 125%. This calculation can also

 be duplicated for the class members based whose loans were based on the same documentation.




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        58.     Upon an event of default, the loans accelerate and any portion of the purportedly

 purchased receivable that the borrower had not already paid to VCG becomes immediately due

 and owing, without regard to whether the receivables that VCG purportedly purchased actually

 materialized. This demonstrates that VCG did not purchase receivables but instead extended

 money with a specified repayment schedule: a loan.

        59.     Velocity and Avigdor were well aware that the interest rates on the loans violated

 New York’s criminal usury statute, the loans’ documentation is replete with VCG’s denials that it

 is a loan, and that interest is being paid, and asserting that the defense of usury is being waived.

 VCG’s language seeks to recharacterize the loans as purchases of future revenue.

        60.     VCG’s efforts to hide its criminal activity through its drafting of the loans’

 documentation include:

                       Labeling the loans “Revenue Purchase Agreements”;

                       Stating that the borrower “is selling a portion of a future revenue stream to
                        VCG at a discount, not borrowing money, therefore there is no interest rate
                        or payment schedule and no time period during which” the loans must be
                        repaid;

                       Stating that the “Purchase Price is not intended to be, nor shall it be
                        construed as a loan from VCG to [the borrower]”;

                       Writing that “[i]n no event shall the aggregate of all amounts or any portion
                        thereof be deemed as interest hereunder, and in the event it is found to be
                        interest despite the parties hereto specifically representing that it is NOT
                        interest, it shall be found that no sum charged or collected hereunder shall
                        exceed the highest rate permissible at law”;

                       “In the event that a court … determines that VCG has charged or received
                        interest hereunder in excess of the highest applicable rate, the rate in effect
                        hereunder shall automatically be reduced to the maximum rate permitted by
                        applicable law and VCG shall promptly refund to [the borrower] any
                        interest received by VCG in excess of the maximum lawful rate;”

                       Stating that the borrower “knowingly and willingly waives the defense of
                        Usury in any action or proceeding.”



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 These writings and denials demonstrate that VCG knew that the loans violated New York’s

 criminal usury statute and that VCG was going to extraordinary lengths to guard against the

 possibility that a borrower would later assert that the loans were usurious.

                               The Payment Adjustment Provision

        61.     The loans contain a provision that purports to, but does not, reconcile the

 borrower’s payments to its revenue. At Section 1.4, it states:

                If an Event of Default has not occurred, every two (2) calendar
                weeks after the funding of the Purchase Price to Merchant, Merchant
                may give notice to VCG to request a decrease in the Remittance.
                The amount shall be decreased if the amount received by VCG was
                more than the Purchased Percentage of all revenue of Merchant
                since the date of this Revenue Purchase Agreement. The
                Remittance shall be modified to more closely reflect the Merchant’s
                actual receipts by multiplying the Merchant’s actual receipts by the
                Purchased Percentage divided by the number of business days in the
                previous (2) calendar weeks. Seller shall provide VCG with
                viewing access to their bank account as well as all information
                reasonably requested by VCG to properly calculate the Merchant’s
                Remittance. At the end of the two (2) calendar weeks the Merchant
                may request another adjustment pursuant to this paragraph or it is
                agreed that the Merchant’s Remittance shall return to the
                Remittance as agreed upon on Page 1 of this Agreement.

        62.     The Payment Adjustment Provision, however, has little practical value. It does not

 reconcile payments made to VCG to revenue actually received by the borrower and require an

 immediate credit or debit to ensure that the borrower is neither underpaying nor overpaying VCG.

        63.     Although it contains an adjustment concept, any adjustment to future payment is

 temporary and the borrower’s payments automatically revert to original amount regardless of the

 borrower’s actual received revenue or expected future revenue.

        64.     Further, pursuant to Section 4.3 of the Loan, the adjustment to the borrower’s

 payments can only be made on “notice” and the loans require that “[a]ll notices … shall be

 delivered by certified mail, return receipt requested, to [VCG]…. Notices to VCG shall become



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 effective only upon receipt by VCG.” Thus, any adjustment to a borrower’s payment will be

 further delayed.

        65.     In addition, because VCG can make requests for information that it believes is

 reasonably necessary to determine the propriety of the borrower’s request, VCG has the ability to

 further delay any adjustment and the discretion to reject the borrower’s request to adjust the daily

 payment by seeking additional information.

        66.     In addition to the onerous terms that VCG built into the loans to ensure that even if

 the anticipated receivables failed to materialize it would still be able to collect the full amount of

 the purchased receivables from the borrower, VCG also obtained a “Security Agreement” from

 the borrower that essentially placed a lien on anything of value that the borrower owned (or might

 own in the future) and personal guaranties from the (direct or indirect) owners of the borrower.

        67.     Although VCG wanted to prevent the loans from being treated as a loan to avoid

 the consequences of New York’s usury laws, VCG also sought to obtain the protections against

 default that are available to a secured lender.

        68.     In the related “Security Agreement,” VCG obtained “a security interest and lien

 upon: (a) all accounts, chattel paper, documents, equipment, general intangibles, instruments, and

 inventory … now or hereafter owned or acquired by [the borrower or guarantors], (b) all proceeds

 … (c) all funds at any time in [the borrower’s or the guarantors’] Account, regardless of the source

 of such funds, (d) present and future Electronic Check Transactions, and (e) any amount which

 may be due to VCG …, including but not limited to all rights to receive any payments or credits.”

        69.     Per the Security Agreement, the borrower “agree[d] that, if any time, there are

 insufficient funds in [the borrower’s] Account to cover VCG’s entitlements under” the Loan, VCG




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 is granted a further security interest in all of [the borrower’s] assets of any kind whatsoever, and

 that such assets become “Secured Assets.”

        70.     Thus, even if the purchased receivables never materialized, VCG had recourse to

 pursue essentially any other the borrower asset to obtain repayment of the loans.

        71.     To further protect itself from the possibility that the purchased receivables would

 not materialize, VCG attempted to contract around the Bankruptcy Code’s automatic stay (11

 U.S.C. § 362(a)) by including in the Security Agreement that the borrower and the guarantors

 “agree that this is a contract of recoupment and VCG is not required to file a motion for relief from

 a bankruptcy action automatic stay to realize on any of the Secured Assets.”

        72.     The loans’ terms allow VCG, if the purchased receivables fail to materialize, to

 seize anything of value to satisfy the borrower’s obligation to pay it the full purchased amount.

 Under the terms of the loans, VCG’s right to seize anything of value exists even if the specified

 percentage of the borrower’s future receivables was less than purchased amount or if the borrower

 files a petition for relief under the Bankruptcy Code.

        73.     By its own terms, the Security Agreement is intended to “secure the obligations

 hereunder and under the [loan].”

        74.     The Security Agreement also allows VCG to assume the borrower’s leased

 premises, including “the right: (a) to enter [the borrower]’s premises and to take possession of the

 fixtures and equipment therein for the purpose of protecting and preserving same; and/or (b) to

 assign [the borrower]’s lease to another qualified business capable of operating a business

 comparable to [the borrower]’s at such premises.” Once again, this provision is designed to allow

 VCG to obtain the full remittance amount even if the specified percentage of the borrower’s future

 receivables that VCG purportedly acquired were ultimately less than the full purchased amount.




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           The Personal Guaranties Demonstrate That The Loan Is With Recourse.

        75.     In an effort to ensure that it would be paid in full, even if the borrower’s future

 revenue was insufficient, VCG required that the borrowers’ direct and indirect owners, provide

 personal guaranties that they would pay in the borrower’s place.

        76.     The personal guaranties provided that the guarantors “shall be jointly and severally

 liable for all amounts owed to VCG in the Event of Default.” The Figulis were required to provide

 such guarantees on behalf of Hussian. In the case of many of Hussian’s loans with VCG, the

 Figulis’ signatures were procured through fraud and the Figulis did not become aware that their

 signatures had been forged through misuse of the Docusign platform.

        77.     The guaranty states “[u]ntil the Purchased Amount and [the borrower’s] other

 obligations to VCG under the [Loan] and this Agreement are paid in full Guarantor shall not seek

 reimbursement from [the borrower] or any other guarantor for any amount paid” under the

 Guaranty. (Emphasis added.)

        78.     As a specific example, Hussian ultimately had insufficient revenue to pay the

 remittances to VCG or even to continue operating and pay a reduced remittance. It ceased

 collecting tuition and fees revenue from operations in April 2023 and suspended instructional

 operation as of August 2023.

        79.     After the borrower closed its doors, effectively ending its revenue stream, VCG

 continued to pull, through ACH, every dollar it could find in the designated borrower payment

 accounts, regardless of the source (i.e., nominal collections on long past-due receivables or various

 refunds from cancelled vendor contracts) greatly hampering the wind-up efforts of Hussian and

 increasing the exposure of the Figulis to third-party creditors. Further, VCG sought to collect on

 Hussian’s loan, by bringing this case to collect on it. It did so, despite the fact that the borrower

 had no revenue. On information and belief, VCG has done the same with other borrowers.


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        80.     If VCG had truly purchased a specified percentage of the borrower’s revenue up to

 a stated amount, as VCG claims, then VCG would simply be in possession of a non-performing

 asset—and have no recourse to collect any unpaid balance. Instead, VCG is acting as a lender by

 seeking to recover against assets other than those that it purportedly acquired.

                                          VCG’s Funding

        81.     Jacob Avigdor founded VCG after short employment history at other MCA lenders.

        82.     On information and belief, Avigdor founded VCG and began making loans using

 capital acquired from others.

        83.     On information and belief, as VCG’s business expanded, it raised additional capital

 through a Series A fundraising. That successful fundraising resulted in additional equity holders

 joining as members in VCG.

        84.     The additional members provided capital to VCG enabling it to significantly

 expand its lending operation. VCG’s new equity members are both entities and their ultimate

 human beneficial owners, John Does 1-100.

        85.     In addition to raising additional capital through its successful Series A, on

 information and belief, VCG has access to additional capital through various loan structures.

        86.     VCG has a $50 million line of credit from Arena.

        87.     VCG borrows under its arrangements with John Does 101-200, and lends that

 money to borrowers with the expectation that it will extract sufficiently greater interest from its

 borrowers than it is required to pay to John Does 101-200.

                                 CLASS ACTION ALLEGATIONS

        88.     Plaintiffs bring these counterclaims pursuant to Fed. R. Civ. P. 23, individually and

 on behalf of all other borrowers and guarantors who have been harmed as a result of Velocity

 usurious loan and related guarantees.


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        89.     These counterclaims are properly maintainable as a class action.

        90.     The Class is so numerous that joinder of all members is impracticable. On

 information and belief, during its history as a lender VCG has funded more than 25,000 clients.

        91.     There are questions of law and fact common to the Class and that predominate over

 any issues affecting only individual Class members including, without limitation:

                (a)     Whether Velocity’s loan documents are purchases of receivables or loans;

                (b)     Whether the payment adjustment provision included in the loan documents

                        is fictitious or sham;

                (c)     Whether there is recourse in bankruptcy for debts arising out of the loans;

                (d)     Whether Velocity assumed the risk that the purchased receivables would

                        perform; and

                (e)     Whether there is a presumptive duration for the loans.

        92.     Plaintiffs’ claims arise out of the same form documents as those of the class

 members, making interpretation of the contracts at issue common to all members of the class.

        93.     Plaintiffs are committed to prosecuting this action. Plaintiffs’ claims are typical of

 the claims of the other Class members, and Plaintiffs have the same interest as other members of

 the Class and will fairly and adequately protect the interests of the Class.

        94.     The prosecution of separate actions by individual members of the Class would

 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the

 Class, which would establish incompatible standards of conduct for the Defendants; or

 (b) adjudications with respect to individual members of the Class, which would as a practical

 matter be dispositive of the interests of other members not parties to the adjudications or

 substantially impair or impede their ability to protect their interests.




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          95.      Defendants have acted, or refused to act, on grounds generally applicable to the

 Class with respect to matters complained of herein, thereby making appropriate the relief sought

 herein with respect to Class as a whole.

          96.      A class action is superior to other available methods for the fair and efficient

 adjudication of this controversy. The expense and burden of individual litigation makes it

 impracticable for Class members individually to seek redress for the wrongful conduct alleged

 herein. Plaintiffs anticipate that there will be no difficulty in the management of this litigation as

 a class action.

          97.      The loan documentation contains a class action waiver. However, because the

 loans are void ab initio by application of New York’s usury laws, that provision cannot be

 enforced. See, e.g., Moss v. First Premier Bank, 2020 WL 5231320, at *4–5 (E.D.N.Y. Sept. 2,

 2020).

                                     FIRST CAUSE OF ACTION
                                     RICO (18 U.S.C. § 1962(C))

          98.      Plaintiffs repeat and reallege the allegations contained in paragraphs 21-97 as if

 more fully set forth herein.

                                            Culpable People

          99.      Velocity, Avigdor, Arena, John Does 1-100, and John Does 101-200 are “persons”

 within the meaning of 18 U.S.C. § 1961(3) and 18 U.S.C. § 1962(c) in that each is an individual,

 corporation, or limited liability company capable of holding an interest in real property.

          100.     At all relevant times, each of Velocity, Avigdor, Arena, John Does 1-100, and John

 Does 101-200 was, and is, a person that exist separate and distinct from the RICO enterprise

 described below.




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        101.    Velocity is a limited liability company organized and existing under the laws of the

 State of New York.

        102.    Avigdor is the managing member and de facto chief executive officer of Velocity.

 He is also a member of Velocity.

        103.    Upon information and belief, Velocity solicits, underwrites, funds, services, and

 collects upon debts incurred by small business in states that do not have usury laws.

        104.    Arena is a limited partnership existing under the laws of Delaware that provides

 funding to the Enterprise through a credit arrangement with Velocity.

        105.    John Does 1-100 are members of Velocity who have provided equity capital to

 Velocity to allow it to extend unlawful usurious loans on behalf of the Enterprise.

        106.    John Does 101-200 lend funds to Velocity so that it can extend unlawful usurious

 loans on behalf of the Enterprise.

                                          The Enterprise

        107.    Velocity, Avigdor, Arena, John Does 1-100, and John Does 101-200 constitute an

 association-in-fact enterprise (the “Enterprise”) within the meaning of 18 U.S.C. §§ 1961(4) and

 1962(c).

        108.    Velocity, Avigdor, Arena, John Does 1-100, and John Does 101-200 are a group of

 persons that are associated-in-fact for the common purpose of carrying on an ongoing unlawful

 enterprise. Specifically, the Enterprise has a common goal of soliciting, funding, servicing, and

 collecting upon usurious loans that charge interest at more than twice the enforceable rate under

 the laws of New York and other states.

        109.    Upon information and belief, since at least 2018 and continuing through the present,

 the members of the Enterprise have had ongoing relations with each other and/or one or more

 contracts or agreements relating to and for the purpose of originating, underwriting, servicing, and


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 collecting upon unlawful debt issued by the Enterprise to small businesses throughout the United

 States, including the borrower and the other members of the class.

        110.       The debt, including such debt evidence by the agreements, constitutes an unlawful

 debt within the meaning of 18 U.S.C. § 1962(c) and (d) because (i) it violates applicable usury

 statutes and (ii) the rates are more than twice the legal rate. Here, the annualized rate charged to

 the borrower exceeded 125%, a rate that is more than five (5) times the maximum twenty-five

 percent (25%) permitted to be charged under New York Penal Law § 190.40. Loan agreements

 with the class members contain similar unlawful interest rates that more than double the legally

 permitted rate.

                               Each Member’s Role In The Enterprise

        111.       The Enterprise has organized itself into a cohesive group with specific and

 assigned responsibilities and a command structure to operate as a unit in order to accomplish the

 common goals and purposes of collecting upon unlawful debts. Generally speaking, Velocity and

 Avigdor solicit the merchants, underwrite the transactions, and enter into merchant agreements.

 John Does 1-100 invested capital in Velocity to enable it to fund the merchant agreements. Arena

 and John Does 101-200 provide Velocity with access to additional capital pursuant to one or credit

 agreements from which Velocity can draw upon to fund merchant agreements. Velocity and

 Avigdor collect the proceeds of the usurious loans and distribute a portion of ill-gotten proceeds

 to John Does 1-100 and use the ill-gotten proceeds to pay interest to Arena and John Does 101-

 200.

                                               Avigdor

        112.       Upon information and belief, Avigdor is the founder, a member of, chief

 underwriter, and chief executive officer of Velocity. Upon information and belief, Avigdor is

 responsible for the day-to-day operations of the Enterprise and has final say on all business


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 decisions of the Enterprise including, without limitation, which usurious loans the Enterprise will

 fund, how such loans will be funded, and the ultimate payment terms, amount, and period of each

 usurious loan, including the Agreement.

        113.    Upon information and belief, in his capacity as the day-to-day leader of the

 Enterprise, Avigdor is responsible for creating, approving and implementing the policies, practices

 and instrumentalities used by the Enterprise to accomplish its common goals and purposes,

 including: (i) the merchants to whom the Enterprise will lend funds; (ii) the form of merchant

 agreements used by the Enterprise to attempt to disguise the unlawful loans as receivable purchase

 agreements to avoid applicable usury laws and conceal the Enterprise’s collection of unlawful

 debt; (iii) the amount and repayment period of the usurious loans extended by the Enterprise to

 merchants; and (iv) the method of collecting the dialing payments via ACH withdrawals. All such

 forms were used to make and collect upon the unlawful loans including, without limitation, the

 loans extended to the borrower and the class under the Agreements.

        114.    Avigdor also has taken actions and directed other members of the Enterprise to take

 actions necessary to accomplish the overall goals and purposes of the Enterprise including

 directing members of the Enterprise to make loans to merchants, to fund only certain amounts of

 those loans and to collect upon the unlawful loans.

        115.    Through salary, bonuses, profits, and/or other distributions by Velocity, Avigdor

 has ultimately benefited from the Enterprise’s funneling a portion or all of the usurious loan

 proceeds to Velocity.

                                              Velocity

        116.    Directly and through Avigdor and its other employees and officers, Velocity has

 been and continues to be responsible for: (i) entering into contracts with brokers to solicit

 borrowers for the Enterprise’s usurious loans and participation agreements with investors to fund


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 the usurious loans; (ii) underwriting the usurious loans and determining the ultimate rate of

 usurious interest to be charged under each loan; (iii) entering into the so-called merchant

 agreements on behalf of the Enterprise; (iv) setting up the ACH withdrawals used by the Enterprise

 to collect upon the unlawful debt; and (v) obtaining judgments in its name to further collect upon

 the unlawful debt when a merchant defaults.

        117.    In this case, Velocity: (i) entered into a contract with a broker to solicit borrowers,

 including the borrower and members of the class; (ii) underwrote the Agreement; (iii) entered into

 the agreements; (iv) solicited the information needed to collect upon the unlawful debt evidenced

 by the agreements by effecting daily ACH withdrawals from the borrowers’ accounts; (v) sent

 correspondence seeking payment of the unlawful debt; (vi) failed and refused to return the usurious

 interest charged and collected under the agreements; (vii) funded the amounts loaned to Hussian

 and the class members by wire transfer from its banks accounts; (viii) communicated with the

 borrowers through email; and (ix) collected the daily payments through the ACH withdrawals from

 the borrowers’ designated account into Velocity’s account.

        118.    Upon information and belief, Velocity benefits from the Enterprise’s unlawful

 activity by retaining a portion of the proceeds of the unlawful debt collected by the Enterprise.

                                          John Does 1-100

        119.    John Does 1-100 are members of Velocity and contributed capital to Velocity with

 the knowledge and intent that contributed capital be used for the purpose of enabling Velocity to

 expand its business of soliciting, underwriting, funding, and collecting upon illegal usurious loans

 on behalf of the Enterprise.

        120.    On information and belief, Velocity conducted a Series A offering and obtained a

 $5 million investment prior to December 13, 2018, from one or more of John Does 1-100.




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        121.    John Does 1-100 benefit from the Enterprise’s unlawful activity by receiving and

 retaining a share of the proceeds of the unlawful debt collected by the Enterprise.

                                               Arena

        122.    On information and belief, Arena provides Velocity with debt financing to support

 its activities and those of the Enterprise. On information and belief, before agreeing to lend funds

 to Velocity, Arena investigated Velocity’s business and learned that Velocity makes unlawful

 usurious loans. On information and belief with the benefit of that knowledge, Arena joined the

 Enterprise and provides funds that Velocity uses to solicit, underwrite, fund, and collect upon

 illegal usurious loans on behalf of the Enterprise. On information and belief, Arena extends the

 loans to Velocity purposely to support and enable the Enterprise to engage in its unlawful activity.

        123.    On information and belief, Arena provides $50 million of debt financing to

 Velocity.

        124.    On information and belief, Arena benefits from the Enterprise’s unlawful activity

 by receiving and retaining a share of the proceeds of the unlawful debt collected by the Enterprise.

                                        John Does 101-200

        125.    On information and belief, John Does 101-200 provide Velocity with debt

 financing to support its activities and those of the Enterprise. John Does 101-200 lend funds to

 Velocity knowing that Velocity uses those funds to solicit, underwrite, fund and collect upon

 illegal usurious loans on behalf of the Enterprise. John Does 101-200 extend the loans to Velocity

 purposely to support and enable the Enterprise to engage in its unlawful activity.

        126.    On information and belief, before December 13, 2018, Velocity obtained $15

 million in debt financing from one or more John Does 101-200.




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        127.    On information and belief, John Does 101-200 benefit from the Enterprise’s

 unlawful activity by receiving and retaining a share of the proceeds of the unlawful debt collected

 by the Enterprise.

                                        Interstate Commerce

        128.    The Enterprise is engaged in interstate commerce and use instrumentalities of

 interstate commerce in its daily business activities.

        129.    Specifically, members of the Enterprise maintain offices in New York, Florida, the

 United Kingdom, Ireland, Singapore, and elsewhere and use personnel located in New York to

 originate, underwrite, fund, service, and collect upon usurious loans made by the Enterprise to

 entities in Pennsylvania and throughout the United States via extensive use of interstate emails,

 mail, wire transfers, and bank withdrawals processed through an automated clearing house.

        130.    In the present case, all communications between the members of the Enterprise and

 Plaintiffs were by interstate mail, email, telephone, wire transfers, ACH debits, and other interstate

 wire communications. Specifically, the Enterprise used interstate emails to originate, underwrite,

 service, and collect upon the agreements, fund the advance under the Agreement and collect the

 Daily Payments via interstate electronic ACH debits. In addition, at the direction of Avigdor, some

 of the agreements executed by David J. Figuli and Joshua David Figuli, on behalf of the Hussian

 and individually as guarantors, and the original copy of the agreement was executed in virtual form

 through the services of Docusign and transmitted electronically across state lines. The guarantor

 class members executed similar documentation. In other situations signatures of the guarantors

 and representatives of the borrowers were procured through fraud and are forgeries.

                                       Injury and Causation

        131.    Plaintiffs have and will continue to be injured in their business and property by

 reason of Defendants’ violations of 18 U.S.C. § 1962(c), in an amount to be determined at trial.


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 The injuries to the Plaintiffs directly, proximately, and reasonably foreseeably resulting from or

 caused by these violations of 18 U.S.C. § 1962(c) include, without limitation, the millions of

 dollars paid to the Defendants by the Plaintiffs or otherwise collected by the Defendants on account

 of the usurious and otherwise unenforceable agreements and attorneys’ fees and costs, including

 attorneys’ fees and costs associated with exposing and prosecuting the Defendants’ unlawful

 activities.

         132.   Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to treble damages, plus costs

 and attorneys’ fees from the Defendants.

                                       COUNT II
                           (CONSPIRACY UNDER 18 U.S.C. § 1962(D))

         133.   Plaintiffs repeat and reallege the allegations contained in paragraph 21-132 as if

 more fully repeated herein.

         134.   The Defendants have unlawfully, knowingly, and willingly combined, conspired,

 confederated, and agreed together to violate 18 U.S.C. § 1962(c) as described above, in violation

 of 18 U.S.C. § 1962(d).

         135.   By and through each of the Defendants’ business relationships with one another,

 including employees and services, their close coordination with one another in the affairs of the

 Enterprise, and frequent email communications among the Defendants concerning the

 underwriting, funding, servicing, and collection of the unlawful loans, including the agreements,

 each Defendant knew the nature of the Enterprise and each of the Defendants knew that the

 Enterprise extended beyond each individual Defendant’s role. Moreover, through the same

 connections and coordination, each of the Defendants knew that the other Defendants were

 engaged in a conspiracy to collect upon unlawful debts in violation of 18 U.S.C. § 1962(c).




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        136.    Each Defendant agreed to facilitate, conduct, and participate in the conduct,

 management or operation of the Enterprise’s affairs in order to collect upon unlawful debts,

 including the agreements in violation of 18 U.S.C. § 1962(c). In particular, each Defendant was a

 knowing, willing, and active participant in the Enterprise and its affairs, and each of the Defendants

 shared a common purpose, namely, the orchestration, planning, preparation, and execution of the

 scheme to solicit, underwrite, fund, and collect upon unlawful debts, including the Agreement.

        137.    More particular to this case, Velocity underwrote and entered into the agreements

 and funded and collected upon the loans by: (i) having its representatives use email to service the

 loans; and (ii) by using its letterhead, it directed the borrowers to make payments under the loan

 to Velocity’s bank account.

        138.    John Does 1-100 and Avigor provided equity funding to enable Velocity to solicit,

 underwrite, fund, and collect upon unlawful debts, including the agreements with the borrower

 class members.

        139.    Arena and John Does 101-200 provided debt funding to enable to Velocity to

 solicit, underwrite, fund, and collect upon unlawful debts, including the agreements with the

 borrower class members

        140.    The participation and agreement of each Defendant was necessary to allow the

 commission of this scheme.

        141.    Plaintiffs have been and will continue to be injured in their business and property

 by reason of Defendants’ violations of 19 U.S.C. § 1962(d), in an amount to be determined at trial.

 The injuries to the Plaintiffs directly, proximately, and reasonably foreseeable resulting from or

 caused by these violations of 18 U.S.C. § 1962(d) include, but are not limited to, millions of dollars




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 in improperly collected loan payments and attorneys’ fees and costs, including attorneys’ fees and

 costs associated with exposing and prosecuting the RICO Defendants’ criminal activities.

        142.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to treble damages, plus

 attorneys’ fees and costs from the Defendants.

        WHEREFORE, Plaintiffs seek entry of a judgment against the Counterclaim Defendants

 as follows:

        A.      On the First Count, awarding actual damages in an amount to be determined at trial,
                and treble damages;

        B.      On the Second Count, awarding actual damages in an amount to be determined at
                trial, and treble damages;

        C.      An award of attorneys’ fees and costs in an amount to be determined at trial; and

        D.      Such other and further relief as the Court shall deem just and proper.

  Dated: New York, New York
         December 10, 2024



                                                    /s/ Jeffrey M. Greilsheimer
                                                   Jeffrey M. Greilsheimer
                                                   HALLORAN FARKAS + KITTILA LLP
                                                   600 Madison Avenue, 2d Floor
                                                   New York, New York 10016
                                                   646-825-2390
                                                   jg@hfk.law
                                                   Attorneys for Defendants-Counterclaim
                                                   Plaintiffs Hussian College Inc., Joshua
                                                   David Figuli and David J. Figuli




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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  VELOCITY CAPITAL GROUP LLC,

                                Plaintiff,

                           v.
                                                                Case No.: 2:23-cv-05562-NJC-ST
  HUSSIAN COLLEGE, INC., JOSHUA DAVID
  FIGULI, and DAVID J. FIGULI,

                                Defendants.

  HUSSIAN COLLEGE, INC., JOSHUA DAVID
  FIGULI, and DAVID J. FIGULI, on behalf of
  themselves and all similarly situated borrowers and
  guarantors,
                                Plaintiffs,
                           v.
  VELOCITY CAPITAL GROUP LLC, JACOB
  AVIGDOR, ARENA INVESTORS, LP, JOHN
  DOES 1-100, and JOHN DOES 101-200,
                                Defendants.

                                         VERIFICATION

        I make this Verification on behalf of myself and as the authorized representative of Hussian

 College Inc. I have read the foregoing Answer and Verified Complaint and know the contents

 thereof; that the same is true to my knowledge except those matters stated to be alleged on

 information and belief, and as to those matters I believe them to be true. The grounds for my belief

 in those matters herein not stated upon my knowledge is based upon the records in my possession.

        I declare that the under penalty of perjury that foregoing is true and correct.

 Executed on December 9, 2024.

                                       __________________________________
                                       JOSHUA DAVID FIGULI
                                       Individually and as Authorized
                                       Representative of Hussian College, Inc.
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